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                                         U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
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                                                             January 15, 2021


By ECF
Honorable Mary Kay Vyskocil
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Family Equality, et al. v. Azar, et al., No. 20 Civ. 2403 (MKV)

Dear Judge Vyskocil:

        This Office represents Defendants U.S. Department of Health and Human Services
(“HHS”) and Alex M. Azar, sued in his official capacity as the Secretary of HHS, in the above-
referenced matter. I write to advise the Court that, on January 12, 2021, HHS promulgated the
anticipated final rule which, among other things, finalizes proposed changes to 45 C.F.R.
§ 75.300. See HHS, Final Rule, 86 Fed. Reg. 2257 (Jan. 12, 2021) (the “January 2021 Rule”),
available at www.federalregister.gov/documents/2021/01/12/2021-00207/health-and-human-
services-grants-regulation. As stated therein, the rule will take effect on February 11, 2021.

        As Your Honor is aware, in this action brought pursuant to the Administrative Procedure
Act (“APA”), Plaintiffs challenge a November 19, 2019, Notification of Nonenforcement of a
Health and Human Services Grants Regulation. See 84 Fed. Reg. 63809. Among other things,
the Notification of Nonenforcement stated that HHS would not enforce certain provisions of 45
C.F.R. 75.300, regulations which were promulgated in 2016 and govern awards of grants by
HHS to non-federal entities, pending the agency’s anticipated amendments to those regulations.
After Plaintiffs filed suit, Defendants moved to dismiss the Complaint on the grounds that
Plaintiffs lack standing and, in the alternative, moved to stay the action pending the anticipated
promulgation of an amended rule. See Dkt. Nos. 40-41.

        As set forth in Defendants memorandum of law, as of the effective date of the January
2021 Rule, Plaintiff’s challenge to the Notice of Nonenforcement – which relates only to the
soon-to-be obsolete 2016 rule – will be rendered moot as will be “impossible for a court to grant
any effectual relief whatever to the prevailing party.” Knox v. Serv. Emps. Int’l Union, Local
1000, 567 U.S. 298, 307 (2012) (quotations omitted). The Court should accordingly grant
Defendants’ motion to dismiss the Complaint, or, in the alternative, stay this action pending the
effective date of the January 2021 Rule.

       I thank the Court for its attention to this matter.
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                                         Respectfully,

                                         AUDREY STRAUSS
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                                    By: __________________________
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